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16                             IN THE UNITED STATES DISTRICT COURT
17                                     FOR THE DISTRICT OF ARIZONA
18

19   United States of America,                        Case No. 2:18-cr-00422-PHX-SMB
20
                          Plaintiff,                  DECLARATIOIN OF TONI
21   vs.                                              THOMAS IN SUPPORT OF
                                                      DEFENDANTS’ OPPOSITION
22   Michael Lacey, et al.,                           TO GOVERNMENT’S MOTION IN
23                                                    LIMINE TO ADMIT EVIDENCE
                          Defendants.                 (DKT. 931)
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            DECLARATION OF TONI THOMAS IN SUPPORT OF DEFENDANTS’ OPPOSITION TO
                            MOTION IN LIMINE TO ADMIT EVIDENCE
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          DECLARATION OF TONI THOMAS IN SUPPORT OF DEFENDANTS’ OPPOSITION TO
                          MOTION IN LIMINE TO ADMIT EVIDENCE
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 1                                DECLARATION OF TONI THOMAS
 2          I, Toni Thomas, declare as follows:
 3          1.     I am a paralegal with the firm of Bienert | Katzman PC, counsel for Defendant
 4   James Larkin in this action. I make this limited declaration based on personal knowledge and am
 5   competent to testify to the matters stated herein.
 6          2.        On May 21, 2020, I participated in an approximately 50-minute meet and confer
 7   call regarding the government’s Motion in Limine to Determine Admissibility of Certain Evidence
 8   Dkt. 931.
 9          3.        Call participants for the government were Assistant United States Attorneys
10   Reggie Jones and Kevin Rapp.
11          4.        Call participants for the defense were attorneys Whitney Z. Bernstein, Erin M.
12   Paris, Ariel Neuman, Gopi Panchapakesan, Bruce Feder, David Eisenberg, and Joy Bertrand.
13          5.        Prior to the call on May 13, 2020, Gopi Panchapakesan sent an email to Reggie
14   Jones, copying all defense counsel and government attorneys. A true and correct copy of this email
15   appears in Dkt. 977-1.
16          6.        On Wednesday May 20, 2020, Reggie Jones replied to Gopi Panchapakesan’s
17   email copying all defense counsel and government attorneys. A true and correct copy of this email
18   appears in Dkt. 977-1.
19          7.        The bullet points of issues/questions and answers provided by the government
20   from the May 13, 2020 and May 20, 2020 emails were the guide for the clarification questions
21   posed by defense counsel on the call.
22          8.     Defense counsel asked the government to identify the Defendants against whom
23   each exhibit identified in its chart (Exhibit A at Dkt. 931-1) applied and was admissible. For
24   example, which Defendant(s) the government believed a party agent’s statement could be
25   attributed against and which Defendant(s) the government believed adopted a given statement.
26   The government refused to identify the Defendants for whom it contends each of the exhibits
27   apply, and said that each exhibit is admissible and relevant to all Defendants.
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           DECLARATION OF TONI THOMAS IN SUPPORT OF DEFENDANTS’ OPPOSITION TO
                           MOTION IN LIMINE TO ADMIT EVIDENCE
         Case 2:18-cr-00422-DJH Document 1002-1 Filed 06/08/20 Page 4 of 4



 1          9.     Defense counsel asked the government to identify all members of the conspiracy so
 2   counsel could assess the government’s contention that various exhibits were admissible as a
 3   coconspirator statement. The government answered that the conspiracy members include all
 4   named Defendants, cooperators Ferrer and Hyer, David Elms, William Mersey, and “every
 5   prostitute or pimp” who emailed Backpage between 2004 and 2018.
 6          10.    Defense counsel asked the government to provide the underlying documentation
 7   that its summary exhibits purported to summarize as revenue from 2013-2015. Counsel explained
 8   that they could not evaluate the summary exhibit without the underlying records. The government
 9   stated that information was acquired from tax returns obtained in February of 2019 but reiterated
10   its position asserted its February 2019 letter that the government refuses to provide those records.
11   The government repeatedly said that it would not provide these underlying records and that
12   defense counsel should raise the matter with the Court.
13

14          I declare under penalty of perjury of the laws of the United States of America that the
15   foregoing is true and correct.
16

17   Executed this 8th day of June 2020, at San Clemente, California.
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19                                       s/ Toni Thomas
                                         Toni Thomas
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           DECLARATION OF TONI THOMAS IN SUPPORT OF DEFENDANTS’ OPPOSITION TO
                           MOTION IN LIMINE TO ADMIT EVIDENCE
